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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF KENTUCKY
                          CENTRAL DIVISION
                             LEXINGTON

CIVIL ACTION NO. __________

UNITED STATES OF AMERICA                                            PLAINTIFF

VS.

JASON H. FITZGERALD                                              DEFENDANTS
7211 US HIGHWAY 62 EAST
CYNTHIANA, KY 41031

HSBC MORTGAGE SERVICES, INC.
931 CORPORATE CENTER DRIVE
POMONA, CALIFORNIA 91768
  SERVE: C T CORPORATION SYSTEM
         306 W. MAIN ST., STE. 512
         FRANKFORT, KY 40601

BANK TRUST FINANCIAL
F/K/A HARRISON DEPOSIT BANK & TRUST
  SERVE: DARREN BROWN
          208 N. MAIN ST.
          HENDERSON, KY 42420

DISCOVER BANK (A DELAWARE CORPORATION)
 SERVE: C T CORPORATION SYSTEM
         306 W. MAIN ST., STE. 512
         FRANKFORT, KY 40601

FIA CARD SERVICES, N.A.
 SERVE: ANY OFFICER
          2401 STANLEY GULT PARKWAY
          LOUISVILLE, KY 40223

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LNV FUNDING, LLC
 SERVE: ANY OFFICER
         2210 GREENE WAY
         P.O. BOX 20067
         LOUISVILLE, KY 40250-0067

ASSET ACCEPTANCE, LLC
 SERVE: ANY OFFICER
         CSC-LAWYERS INCORPORATING SERVICE COMPANY
         421 WEST MAIN STREET
         FRANKFORT, KY 40601

BECKY EDWARDS
3809 DOVE CREEK COURT
LEXINGTON, KY 40517-2998

COUNTY OF HARRISON
 SERVE: BRADLEY VAUGHN, COUNTY ATTORNEY
        201 W. MAIN ST., STE. 3
        CYNTHIANA, KY 41031

CITY OF CYNTHIANA
 SERVE: JOHN LAIR, CITY ATTORNEY
          115 E. PIKE STREET
          CYNTHIANA, KY 41031

BOARD OF EDUCATION OF HARRISON COUNTY SCHOOLS
308 WEBSTER AVENUE
CYNTHIANA, KY 41031




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                                       COMPLAINT

                                      * * * * *
       For its Complaint and cause of action against the Defendant JASON H.

FITZGERALD, the Plaintiff, United States of America, by and through its counsel, the

United States Attorney for the Eastern District of Kentucky, submits the following:

       1.     This action is brought by the United States of America on behalf of its

agency, the Department of Agriculture, Farm Service Agency (“FSA”), pursuant to 28

U.S.C. § 1345.

       2.     This action is properly brought in the United States District Court for the

Eastern District of Kentucky, as provided in 28 U.S.C. § 1391(b), because the real

property that is the subject of this action is located within the Eastern District of

Kentucky.

       3.     Defendant Jason H. Fitzgerald is the owner of the property that is the

subject of this action.

       4.     On May 25, 2006, Defendant Jason H. Fitzgerald, for value received,

executed and delivered to FSA a Promissory Note in the principal amount of $ 37,500.00,

bearing interest at the rate of 5.125 percent per annum. Beginning April 1, 2007,

principal and interest were payable in annual installments of $6,511.00, due on the 1st of

each April until May 25, 2013, at which time any outstanding principal and interest

would have become due and payable. A true copy of the Note is attached hereto, marked

Exhibit “A”, and is hereby incorporated by reference as if set forth at length herein.




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       5.     On April 10, 2008, Defendant Jason H. Fitzgerald, for value received,

executed and delivered to FSA a Promissory Note in the principal amount of $18,220.00,

bearing interest at the rate of 3.75 percent per annum. Beginning April 1, 2009, principal

and interest were payable in annual installments of $3,008.00, due on the 1st of each April

until April 10, 2015, at which time any outstanding principal and interest would have

become due and payable. A true copy of the Note is attached hereto, marked Exhibit

“B”, and is hereby incorporated by reference as if set forth at length herein.

       6.     On May 19, 2009, Defendant Jason H. Fitzgerald, for value received,

executed and delivered to FSA a Promissory Note in the principal amount of

$106,620.00, bearing interest at the rate of 2.375 percent per annum. Beginning April 1,

2010, principal and interest were payable in two installments. The first installment would

be in the amount of $108,820.00. Any outstanding principal and interest would be due

and payable on May 19, 2011. A true copy of the Note is attached hereto, marked

Exhibit “C”, and is hereby incorporated by reference as if set forth at length herein.

       7.     To secure the Notes set out above in paragraphs 5 and 6, the Defendant

Jason H. Fitzgerald executed, acknowledged, and delivered to FSA two real estate

mortgages (“Mortgages”) against the therein described property (the “Property”) located

in Harrison County at 7211 US Highway 62 East, Cynthiana, KY 41031. Both

Mortgages were recorded in the Office of the Clerk of Harrison County, Kentucky. One

Mortgage was executed on April 10, 2008 and was recorded on the same day in Mortgage

Book 315, Page 269. The other Mortgage was executed on May 19, 2009 and was

recorded on July 10, 2009, in Mortgage Book 327, Page 724. A copy of said Mortgages

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are attached hereto, marked Composite Exhibit “D”, and are hereby incorporated by

reference as if set forth at length herein. The Property is described as:

              Property Address: 7211 US Highway 62 E, Cynthiana, Kentucky 41031

              The following is a description of a parcel of land lying on the
              east side of Carr Road, 1,650 feet north of US 27 in Harrison
              County and more particularly described as follows:

              Beginning at an Iron Pin (set) in the west right-of-way of US
              62, a corner to Earl C. Bills and Alice S. Bills, Deed Book
              137, Page 555: thence leaving said road and with the line of
              Earl C. Bills and Alice S. Bills N42 degrees 44’ 25” W- 71.89
              feet to an Iron Pin (set) at a POST; thence N 42 degrees 44’
              25” W - 47.33 feet to a POST, thence N 05 degrees 12’ 31”
              W - 33.34 feet an Iron Pin (set) at a Hackberry; thence with a
              new made line over the land of William E. Edwards and
              James A. Edwards, Deed Book 173, Page 770, N 72 degrees
              21’ 26” W-46.70 feet to an Iron Pin (set) at a barn; thence N
              60 degrees 25’ 19” W-67.99 feet to an Iron Pin (set); thence S
              27 degrees 37’ 52” W - 261.51 feet to an Iron Pin (set);
              thence S 62 degrees 41’ 46” E- 215.26 feet to an Iron Pin
              (set) in the West right-of-way of US 62; thence with the west
              right-of-way of US 62 N 31 degrees 53’ 04” E - 68.49 feet
              thence N 34 degrees 40’ 16” E-68.18 feet, thence N 41
              degrees 46’ 26” E- 63.98 feet to the Point of Beginning,
              containing 55.197 square feet or 1.267 acres, and being
              subject to all right-of-ways and easements of record and in
              existence.

              Being the same property conveyed to Jason Fitzgerald by
              special warranty deed dated September 7, 2006, and recorded
              in Deed Book 293 Page 591, in the office of the Harrison
              County Clerk.

       8.     Defendant Jason H. Fitzgerald has failed and continues to fail to make the

principal and interest payments due in accordance with the terms and conditions of the

Notes and Mortgages. Therefore, Defendant is in default under the terms of the Notes

and Mortgages.

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       9.     Paragraph (27) of the Mortgages provides that if default occurs in the

performance or discharge of any obligation of the Mortgages, then the United States shall

have the right to accelerate and declare the entire amount of all unpaid principal together

with all accrued interest as being immediately due and payable and to bring an action to

enforce the Mortgages. Because of the default set out above, FSA served upon

Defendant Jason H. Fitzgerald a Notice of Acceleration of Indebtedness and Demand for

Payment declaring the entire indebtedness upon the aforesaid Notes and Mortgages to be

immediately due and payable. Said Notice of Acceleration is attached hereto as Exhibit

“E”.

       10.    The unpaid principal balance of the Notes is $87,174.94, with accrued

interest of $22,558.99 through October 16, 2018, for a total unpaid balance due of

$109,733.93. Interest is accruing on the unpaid balance at a rate of $7.7698 per day after

October 16, 2018.

       11.    Defendant HSBC MORTGAGE SERVICES, INC. may be claiming an

interest in the Property that is the subject of this action by virtue of a Special Warranty

Deed from James Fitzgerald to HSBC Mortgage Services, Inc., dated September 7, 2006,

and recorded on September 25, 2006, in Deed Book 293, Page 591, at the office of the

Clerk of Harrison County, Kentucky. The interest of HSBC Mortgage Services, Inc. is,

according to Plaintiff’s information and belief, superior to the lien of FSA and Plaintiff

calls upon HSBC Mortgage Services, Inc. to assert its claim or interest, if any.

       12.    Defendant BANK TRUST FINANCIAL, f/k/a HARRISON DEPOSIT &

TRUST COMPANY may be claiming an interest in the Property that is the subject of this

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action by virtue of a mortgage from Defendant James H. Fitzgerald to Harrison Deposit

& Trust Company, dated September 22, 2006, and recorded on September 25, 2006 in

Deed Book 296, Page 490, at the office of the Clerk of Harrison County, Kentucky. The

interest of Bank Trust Financial is, according to Plaintiff’s information and belief,

superior to the lien of FSA and Plaintiff calls upon Bank Trust Financial, Inc. to assert its

claim or interest, if any.

       13.     Defendant DISCOVER BANK is made a party to this action by virtue of a

judgment dated March 24, 2011, and recorded on April 4, 2011, in the office of the Clerk

of Court for Harrison County, Kentucky, under Civil Case No. 10-CI-401 (Book 27, Page

45). This judgment is subordinate to the Mortgages of the Plaintiff.

       14.     Defendant FIA CARD SERVICES, N.A. is made a party to this action by

virtue of a judgment dated January 16, 2013, and recorded on February 25, 2013, in the

office of the Clerk of Court for Harrison County, Kentucky, under Civil Case No. 12-CI-

193 (Book 30, Page 389). This judgment is subordinate to the Mortgages of the Plaintiff.

       15.     Defendant LVNV FUNDING, LLC is made a party to this action by virtue

of a judgment dated November 21, 2013, and recorded on January 29, 2014, in the office

of the Clerk of Court for Harrison County, Kentucky, under Civil Case No. 13-CI-00015

(Book 32, Page 52). This judgment is subordinate to the Mortgages of the Plaintiff.

       16.     Defendant ASSET ACCEPTANCE, LLC is made a party to this action by

virtue of a judgment dated February 20, 2014, and recorded on April 7, 2014, in the

office of the Clerk of Court for Harrison County, Kentucky, under Civil Case No. 13-CI-



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00044 (Book 32, Page 200). This judgment is subordinate to the Mortgages of the

Plaintiff.

       17.    The lien on the Property in favor of FSA by virtue of the Mortgages is first,

prior, and superior to all other claims, interests, and liens in and to the Property, except

for those liens mentioned in paragraphs 11 and 12 and liens securing the payment of ad

valorem property taxes.

       18.    Defendant COUNTY OF HARRISON may be claiming an interest in and

to the Property for unpaid ad valorem taxes. Said Defendant should come forth and

assert its claim in and to the subject Property, or be forever barred.

       19.    Defendant CITY OF CYNTHIANA may be claiming an interest in and to

the Property for unpaid ad valorem taxes. Said Defendant should come forth and assert

its claim in and to the subject Property, or be forever barred.

       20.    Defendant COUNTY OF HARRISON may be claiming an interest in and

to the Property for unpaid ad valorem taxes. Said Defendant should come forth and

assert its claim in and to the subject Property, or be forever barred.

       21.    Defendant HARRISON COUNTY PUBLIC SCHOOLS may be claiming

an interest in and to the subject Property for unpaid ad valorem taxes. Said Defendant

should come forth and assert its claim in and to the subject Property, or be forever barred.

       22.    Defendant BECKY EDWARDS may be claiming an interest in and to the

subject Property based on her dower rights. Becky Edwards was married to William E.

Edwards, now deceased, when the latter acquired an interest in the Property recorded in



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the Harrison County Clerk’s Office at Deed Book 173, Page 770. Becky Edwards and

William E. Edwards divorced in 1989.

       23.    There are no other defendants known to Plaintiff purporting to have an

interest in the subject Property.

       24.    There are no other parties know to FSA having an interest in the subject

Property.

       25.    The United States does seek a deficiency judgment in this case.

       WHEREFORE, Plaintiff, United States of America, on behalf of Farm Service

Agency, demands:

       a.     Judgment against the Defendant Jason H. Fitzgerald for $109,733.93,

consisting of its unpaid principal amount of $87,174.94 interest thereon in the amount of

$22,558.99, plus interest of $7.7698 per day from October 16, 2018, to the date of the

judgment, plus costs and expenses with interest after judgment as provided by law.

       b.     Judgment in rem against the interests of the Defendant Jason H. Fitzgerald

in the subject real Property for $77,394.04, consisting of its unpaid principal amount of

$64,488.18 interest thereon in the amount of $12,905.86, plus interest of $4.5843 per day

from October 16, 2018, to the date of the judgment, plus costs and expenses with interest

after judgment as provided by law.

       c.     That Farm Service Agency be adjudged to have a valid and enforceable lien

on the Property, prior and superior to any and all other liens, claims, interests, and

demands, except liens noted in paragraphs 11 and 12 and liens for unpaid real estate ad

valorem taxes. That Farm Service Agency’s lien be enforced and the Property be sold in

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accordance with 28 U.S.C. §§2001-2003, subject to easements, restrictions, and

stipulations of record, liens for any city, state, county, or school ad valorem taxes which

may be due and payable at the time of sale. That the proceeds from the sale be applied

first to the costs of this action, then to the debt, interest, costs and fees due FSA, with the

balance remaining to be distributed to the parties as their liens or interests may appear.

       d.     That the Property be adjudged indivisible and be sold as a whole.

       e.     That the Defendants be required to answer and set up their liens, claims, or

interests in and to the Property, if any, or be forever barred, and that the foreclosure sale

of the Property be free and clear of all such liens, claims and interests.

       f.     Any and all other relief to which Plaintiff may be entitled.

                                            Respectfully Submitted,

                                            ROBERT M. DUNCAN, JR.
                                            UNITED STATES ATTORNEY

                                             /s/ Thomas Lee Gentry
                                            Thomas Lee Gentry
                                            Assistant U.S. Attorney
                                            260 West Vine Street, Suite 300
                                            Lexington, KY 40507-1671
                                            (859) 685-4830
                                            Lee.Gentry@usdoj.gov




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